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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

   UNITED STATES OF AMERICA

   -vs-                                                               Case No. 8:04-cr-348-T-24 TGW

   KEVIN McMAHON

   _______________________________/

                                                  ORDER
           This cause comes before the Court on Defendant Kevin McMahon’s Motion for Separate
   Trials and to Sever Indictment. (Doc. No. 336).
   I. Background
           Defendant McMahon is named in Count One (RICO conspiracy) in a four-count
   indictment charging seven defendants with involvement in a RICO conspiracy and various
   Hobbs Act violations. In the instant motion, Defendant McMahon requests that the Court sever
   Count One from Counts Two, Three, and Four (extortion and conspiracy to commit extortion
   counts) and sever his trial from his co-defendants, pursuant to Federal Rule of Criminal
   Procedure 81 and 142. For the reasons stated below, the Court denies this motion.
   II. Severing Counts
           Defendant McMahon requests that the Court sever Counts Two through Four (the
   extortion counts) from the indictment and trial of Count One, RICO conspiracy. Defendant



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         Federal Rule of Criminal Procedure 8 provides that an indictment: (1) may charge a defendant in
separate counts with two or more offenses if the offenses charged are of the same or similar character, or
are based on the same act or transaction, or are connected with or constitute parts of a common scheme or
plan; and (2) may charge two or more defendants if they are alleged to have participated in the same act or
transaction, or in the same series of acts or transactions, constituting an offense or offenses.

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        Federal Rule of Criminal Procedure 14 provides that if the joinder of offenses or defendants in an
indictment for trial appears to prejudice a defendant, the court may order separate trials of counts, sever the
defendants' trials, or provide any other relief that justice requires.
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 McMahon argues that the acts alleged in the extortion counts do not appear to be associated with
 the RICO conspiracy count, and as such, severance is proper. In response to similar motions
 made by co-defendants, the Government has stated that the proof at trial will establish that the
 extortion counts are related to and part of the overall RICO conspiracy, and that all of the counts
 will involve the same presentation of evidence to the jury. As such, the Government has argued
 that all of the counts are properly joined under Federal Rule of Criminal Procedure 8(a).
         The Court agrees with the Government on this issue. Upon review of the indictment, the
 Court finds that the extortion counts and the RICO conspiracy count are connected with or
 constitute parts of a common scheme or plan. As such, the Court finds that all of the counts are
 properly joined under Rule 8(a).
         Next, Defendant McMahon argues that even if the extortion counts are part of the same
 scheme or plan as the RICO conspiracy count, inclusion of the extortion counts in the indictment
 and trial of the RICO conspiracy count will prejudice Defendant McMahon through the
 confusion presented by trying a RICO conspiracy and the substantive predicate acts together.
 The Court rejects this argument and finds that Defendant McMahon has not shown that he will
 be prejudiced by the joinder. Furthermore, the Court finds that any such prejudice can be
 alleviated through curative instructions to the jury. Therefore, the Court denies Defendant
 McMahon’s motion on this issue.
         Additionally, Defendant McMahon argues that since his only alleged role in the RICO
 conspiracy consists of his involvement in two ten-year-old robberies, he cannot receive a fair
 trial unless the charges against him are separated from the extortion counts. The Court rejects
 this argument and finds that Defendant McMahon has not shown that he will not receive a fair
 trial if all of the counts are tried together.
         Defendant McMahon also argues that since the indictment alleges numerous predicate
 offenses that may not involve him, there is a risk that jurors will confuse the complicated
 relationship between a RICO conspiracy and its predicate acts and separate substantive offenses.


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 Again, the Court rejects Defendant McMahon’s argument of jury confusion and finds that any
 such prejudice can be alleviated through curative instructions to the jury. See U.S. v.
 Blankenship, 382 F.3d 1110, 1123 (11th Cir. 2004)(stating that there is a “strong presumption . . .
 that jurors are able to compartmentalize evidence by respecting limiting instructions specifying
 the defendants against whom the evidence may be considered”).
 III. Severing Defendants
         Defendant McMahon argues that his trial should be severed from that of his co-
 defendants. Specifically, Defendant McMahon contends that Defendants Trucchio and Alite are
 alleged to have connections to the Gambino Crime Family. Defendant McMahon argues that he
 would be unduly prejudiced by any reference to the Gambino Crime Family. In response to
 similar motions filed by other defendants, the Government has stated that it intends to show that
 each of the named conspirators had connections to the Gambino Crime Family. As such, the
 Court rejects Defendant McMahon’s argument on this issue. However, even assuming arguendo
 that references to the Gambino Crime Family would be inadmissible as to Defendant McMahon,
 the Court finds that Defendant McMahon would be entitled only to a curative instruction,
 because the Court finds that references to the Gambino Crime Family would not prevent the jury
 from making a reliable judgment about Defendant McMahon’s guilt or innocence. See
 id. (stating that unless there is a serious risk that a joint trial would compromise a specific trial
 right of one of the defendants or would prevent the jury from making a reliable judgment about
 guilt or innocence, defendants prejudiced by a joint trial are entitled only to curative
 instructions).
         Defendant McMahon also argues that his trial should be severed from his co-defendants
 under Blakenship’s “reliable judgment” exception. “The ‘reliable judgment’ exception . . .
 applies in an extremely narrow range of cases in which the sheer number of defendants and
 charges with different standards of proof and culpability, along with the massive volume of
 evidence, makes it nearly impossible for a jury to juggle everything properly and assess the guilt


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 or innocence of each defendant independently.” Id. at 1124 (citation omitted). The Court rejects
 this argument and finds that the “reliable judgment” exception does not apply in this case.
          Defendant McMahon also argues that severance is required because his alleged crimes
 are significantly different from those of his co-defendants. The Court rejects this argument, as
 Defendant McMahon has not shown that he is prejudiced by the joinder of the co-defendants at
 trial.
          Additionally, Defendant McMahon argues that Defendant Scaglione operated as a
 confidential informant for the FBI during a period of the alleged conspiracy. Defendant
 McMahon argues that his right to call Defendant Scaglione as a witness or to cross-examine him
 will be in direct conflict with Defendant Scaglione’s privilege against self incrimination. As
 such, Defendant McMahon argues that his trial should be severed from that of Defendant
 Scaglione.
          In order obtain severance in order to call Defendant Scaglione to testify at a separate
 trial, Defendant McMahon must show: (1) a bona fide need for the testimony, (2) the substance
 of the desired testimony, (3) the exculpatory effect of the desired testimony, (4) and that
 Defendant Scaglione will testify at a separate trial. See U.S. v. Johnson, 713 F.2d 633, 640 (11th
 Cir. 1983)(citations omitted). Defendant McMahon, however, has not made the requisite
 showing, and as such, the Court denies his motion as to this issue.
 IV. Conclusion
          Accordingly, it is ORDERED AND ADJUDGED that Defendant Kevin McMahon’s
 Motion for Separate Trials and to Sever Indictment (Doc. No. 336) is DENIED.

          DONE AND ORDERED at Tampa, Florida, this 20th day of January, 2006.




 Copies to: Counsel of Record



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